IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

 

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BePSIBA VHO CYSIG
(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

-against-

Ciky of det Cong
VAIO We da, Ano
’ =

LO Ploy ad & S757
(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

Complaint for a Civil Case

Case No.

 

(to be filled in by the Clerk’s Office)

REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury. LE] ves FI vo

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name | Aree bas pune ©
Street Address Cannel eA. Len
City and County Diner imo oe: as © le

State and Zip Code
Telephone Number ©)

E-mail Address SE, Pree Dope f 6 & a ‘ OS =

B. The Defendant(s)

 

 

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

 

 

Name Cc) jas SF Woark 9 Loring
Job or Title | % Aw ahen LAra2
(if known) :

Street Address

City and County LU) 2ad- Plain, nO

State and Zip Code 695°-7)"15,

Telephone Number as “4 = pray 6-7] i &

E-mail Address
(if known)

 

 

 

 

‘ Defendant No. 2

Name

Job or Title
(if known)

Street Address

 

 

 

City and County

 

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II.

State and Zip Code

 

Telephone Number

 

E-mail Address
(if known)

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only three
types of cases can be heard in federal court. Provide the designated information for this
type of case. (Check all that apply)

[| Federal question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

Oe FPreAion 1S Laon

 

 

| | Suit against the Federal Government, a federa! official, or a federal agency

List the federal officials or federal agencies involved, if any.

 

 

 

[Diversity of Citizenship

These are cases in which a citizen of one State sues a citizen of another State or nation
and the amount at stake is more than $75,000. Ina diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

A. The Plaintiff{s) Dow Re wes, ee, hy

The plaintiff, (name) , iS a citizen of the State
of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

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B. The Defendant(s)

 

1. If the defendant is an individual "nA
. go
Ci epee
The defendant, (name) , 1s a citizen of
the State of (name) . Or is a citizen of

 

(foreign nation)

 

Z. If the defendant is a corporation

The defendant, (name) , 1s
incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (name) . Or is
incorporated under the laws of (foreign nation)

, and has its principal place of
business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

C. The Amount in Controversy

The amount in controversy----the amount the plaintiff(s) claims the
defendant(s) owes or the amount at stake----is more than $75,000, not
counting interest and costs of court, because (explain):

SS Orel Las Visllans

 

 

III. Statement of Claim

Write a short and plain statement of FACTS that support your claim. Do not make legal
arguments. You must include the following information:

to ante Ney Hay.
* What happened to you? <3 Aor | sect. ar
Wr Spiele Chitse hon VD User had Drops
* What injuries did you suffer? Se 7 \o Umet MPR
* Who was involved in what None : you? 5 + mn: ARS R34 Ti
Veco sre esd Bed.

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Saher Lael - Dotil het aot Ie head

* How were the defendants involved in what happened to eat ~ Li ne b Bn
)

* Where did the events you have described take place? Ad Ve Os Prof nape
OW har Yieterunat§ tre Lda re
* When did the events you have described take place?

Ser eA Prot

If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

  

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IV. Relief axe yet S'S When idee i hen me
i

State briefly and precisely what damages or other relief you want from
make legal arguments.

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Court. Do iz

 

Do you claim the wrongs alleged in your complaint are continuing to occur at the present time?
Yesf7] ~]

Do you claim actual damages for the acts alleged in your complaint?

ves No[ |

Do you claim punitive monetary damages?

vel] Nof |

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If you indicated that you claim actual damages or punitive monetary damages, state the amounts
claimed and the reasons you claim you are entitled to recover these damages.

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UWI 2A Moin, Sr es Se en Qa. Je ne 25 Hy Se
V. Certification and ae bree. Aten OAdn i 7
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’ s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’ s Office may result in the dismissai of my case.

c!N
Date of signing: July 1, mOO
Signature of Plaintiff 7 Soeur a

Printed Name of Plaintiff ] Pron e “45 motec,

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